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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                               4:10CR3052
     vs.
                                                  MEMORANDUM AND ORDER
MY TAN CAO,
                  Defendant.



     The defendant is released subject to the following:

     1)    The defendant shall appear at his revocation hearing scheduled for August
           14, 2014 at 1:00 p.m.


     2)    The defendant shall comply with all terms and conditions of supervised
           release which were imposed at sentencing, and the following additional
           conditions:

           a.     Defendant shall not consume ANY alcohol.


           b.     The defendant shall promptly obtain a drug and alcohol evaluation,
                  shall fully and candidly cooperate in that evaluation, and shall
                  promptly provide a copy of the evaluation report to his probation
                  officer when the report becomes available.

     April 11, 2014.
                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
